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 December 29, 2020                                                   J. Douglas Baldridge
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 Via Electronic Mail and Federal Express
 Jared L. Cherry
 Phillips Winchester
 4001 S 700 E. Suite 500
 Salt Lake City, Utah 84107
 jlc@phillipswinchester.com


        Re:     Response to Your December 18, 2020 Letter

 Dear Mr. Cherry:

         As you know, Venable LLP represents Ms. Taylor Swift, TAS Rights Management, LLC
 and Taylor Nation LLC (collectively, the “Swift Parties”). I am writing in response to your
 December 18, 2020 letter alleging baseless claims of trademark infringement associated with the
 release of Ms. Swift’s most recent album. Put simply, the Swift Parties have not infringed your
 client’s trademark, and it is inconceivable that there is any likelihood of confusion between your
 client’s theme park and related products and Ms. Swift’s music and related products.

         Your letter states that the Swift Parties’ “use of the EVERMORE trademark infringes on
 Evermore’s trademark rights and has resulted in actual confusion.” We disagree. In the Tenth
 Circuit, six factors are relevant to determining a likelihood of confusion. Those factors are: (1) the
 degree of similarity between the marks; (2) the intent of the alleged infringer in using the mark;
 (3) evidence of actual confusion; (4) similarity of products and manner of marketing; (5) the degree
 of care likely to be exercised by purchasers; and (6) the strength or weakness of the mark. Sally
 Beauty Co. v. Beautyco, Inc., 304 F.3d 964, 972 (10th Cir. 2002) (citing King of the Mountain
 Sports, Inc. v. Chrysler Corp., 185 F.3d 1084, 1089-90 (10th Cir. 1999). An examination of these
 factors demonstrates the unfounded nature of your claim.

        First, the obvious dissimilarity of the marks as to the appearance, sound, connotation, and
 commercial impression eliminates any potential consumer confusion. Your client’s alleged
 trademark “EVERMORE” is clearly dissimilar from “TAYLOR SWIFT EVERMORE
 ALBUM.”1 It is a well understood principle that additions or deletions to marks are sufficient to


 1
         While Ms. Swift’s album is called “evermore,” as your letter acknowledges, the trademark
 applications are for TAYLOR SWIFT EVERMORE ALBUM. This is because to the extent the Swift
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 avoid a likelihood of confusion if the marks in their entireties convey significantly different
 commercial impressions. See, e.g., Citigroup Inc. v. Capital City Bank Group, Inc., 637 F.3d 1344,
 1356, 98 USPQ2d 1253, 1261 (Fed. Cir. 2011); Safer, Inc. v. OMS Invs., Inc., 94 USPQ2d 1031,
 1044-45 (TTAB 2010). Your client is well aware of this principle, as it has previously argued it to
 the U.S. Patent and Trademark Office. In fact, when arguing that EVERMORE could peacefully
 co-exist with DR. EVERMOR—the owner of another trademark and the operator of a similar
 park—for identical goods and services, your client argued:

         [T]he title “Dr.” is applied to a person, thus communicating to the public that “Dr.
         Evermor” refers to an individual. This fact is confirmed by the “Name/Portrait Statement”
         included in the Cited Mark. Specifically, the Cited Mark indicates that “The likeness (or,
         “portrait”) in the mark identifies a living individual whose consent is of record.” In this
         particular context, the public would correctly assume that Dr. Evermor is the proprietor of
         the goods bearing his name. For at least this reason, the Applicant respectfully asserts that
         there is no likelihood of confusion between the Cited Mark and the Applicant’s mark.2

         Here, the addition of TAYLOR SWIFT . . . ALBUM clearly distinguishes the Swift Parties’
 products and services from any products or services sold by your client, even more so than the
 ambiguous word “DR.” did in the goods and services offered under the DR. EVERMOR mark—
 a mark your client asserted could peacefully co-exist with its EVERMORE mark in USPTO
 submissions. Your client cannot possibly reconcile a belief of no likelihood of confusion between
 EVERMORE and DR. EVERMOR used on identical goods and services, with the assertion that
 there is a likelihood of confusion between EVERMORE and TAYLOR SWIFT EVERMORE
 ALBUM on entirely different goods and services. Further, in addition to differences between the
 marks themselves and the goods and services they cover, the Swift Parties’ promotion of Ms.
 Swift’s new album conveys a significantly different commercial impression from that of your
 client’s amusement park. Among other things, the Swift Parties have consistently stylized
 references to the new album in a way that is entirely distinct from your client’s branding, including
 through their use of the all-lowercase lettering and font that has become widely associated with
 Ms. Swift’s projects throughout 2020.3 Moreover, the Swift Parties consistently use the name

 Parties intend to use a trademark on merchandise, they intend to use the trademark TAYLOR SWIFT
 EVERMORE ALBUM.
 2
        See Office Action Responses dated March 10, 2014 submitted in connection with Serial Numbers
 85933153 and 85933243 (attached as Exhibit A), among other similar filings.
 3
          Indeed, a part of the Swift Parties’ brand identity in recent years has been the use of specific fonts,
 color palettes, and other stylized features to identify each of Ms. Swift’s albums or “eras,” including on all
 related album merchandise and marketing materials. This era-specific branding enables consumers to
 quickly associate the content with Ms. Swift’s projects, and not those of a third party.
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 “Taylor Swift” and/or images of Taylor Swift in close proximity to any promotion of the album
 and related merchandise. Whether in a vacuum or in the marketplace, these marks are plainly
 distinct.

         Second, you have not identified any evidence of actual confusion, likely because there is
 none. You make the conclusory statement that “Evermore’s web traffic and digital marketing have
 been negatively impacted since your adoption of the Evermore trademark” and claim that “[d]uring
 the week of December 6-12, 2020, [your client’s] website traffic experienced a dramatic departure
 from typical levels.” As a preliminary matter, a change in website traffic does not equate to
 trademark confusion. Furthermore, even if it did, any dramatic departure from typical levels that
 occurred from December 6 – December 9 are in no way attributable to the Swift Parties because
 Ms. Swift’s album name was not announced until December 10. Your attempt to fully impute an
 alleged decline in email traffic to Ms. Swift’s new album is similarly misguided given the reality
 of the industry-wide impacts COVID-19 has had on theme parks,4 particularly in winter months
 as temperatures decline and as case counts are soaring across the country. Lastly, and perhaps most
 importantly, your client’s social media posts belie this claim as they have intentionally traded off
 and taken advantage of this alleged attention in a transparent attempt to try to create an association
 between your client and ours.




 4
          Indeed, internet traffic for theme parks is down across the entire industry, a reality no doubt
 attributable to the ongoing global pandemic. As your client’s Facebook page makes clear: “The arts have
 been hit hard by COVID-19 and Evermore is no exception.” Evermore Park Facebook Post (August 25,
 2020). The difficulties theme parks have experienced during COVID-19 predate, and obviously have
 nothing to do with, the release of Ms. Swift’s new album.
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 If anything, your client’s website traffic has actually increased as a result of the release of Ms.
 Swift’s recent album which, in turn, could only serve to enhance your client’s mark. Indeed, as
 your client writes “everyone online is talking about us.”5

         Third, the products at issue and marketing methods could not be more dissimilar—further
 weighing against a finding of a likelihood of confusion. Insomuch as your letter did not provide
 any concrete evidence of your client’s trademark rights, our analysis will focus first on the USPTO
 records, then on purported common law rights. With respect to the USPTO records, your client’s
 registrations currently consist of clothing, as well as entertainment in the nature of acting services

 5
          To the extent you have any legitimate, admissible evidence of actual confusion, we invite you to
 share it with us. Additionally, we are aware of your client’s Facebook post stating (in response to the
 following post: “So @EvermorePark I see a marketing opportunity…..right? @taylorswift13
 #evermorealbum ts #TaylorSwift ts”) “We reached out… and haven’t heard anything yet.” Our clients have
 no record of any such contact. Once again, an attempt by your client to try to market with the Swift Parties
 (and publicly informing consumers of this intent) belies the claim that your client is damaged or that there
 is any likelihood of confusion.
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 and amusement park services. Because your client has argued to the USPTO that these goods and
 services would be offered at a park located in Lindon, Utah (see Exhibit 1) and nothing in your
 letter contradicts this, we assume the same is true. The Swift Parties’ products and services bearing
 the TAYLOR SWIFT EVERMORE ALBUM mark do not, and will not, consist of those goods
 and services offered exclusively at a park. As such, the products at issue and marketing methods
 for them, with respect to the USPTO records, are different.

         With respect to any purported common law rights your client may have in EVERMORE
 on additional goods, your letter claims that “Evermore already offers goods bearing the
 EVERMORE trademark, as shown in the following screen capture,” however, you have provided
 no other evidence to support your client’s purported trademark rights in these items. In fact, from
 what we can determine on the screenshot, it is unclear what trademark rights, if any, your client
 has in the word EVERMORE for these products as the word EVERMORE only appears on, at
 most, two items—and one such use appears to be ornamental in nature rather than as a trademark
 to indicate the source of its clothing or to identify and distinguish its clothing from others.

          Your letter points to “in park exclusive items” including small dragon eggs, guild patches,
 and a small dragon mount and claims that items available on Ms. Swift’s website are similar. They
 are not. The “in park exclusive items” are not available for purchase online; they are only allegedly
 available to purchase “exclusively” at your client’s theme park6—a distribution channel that could
 not be more disassociated with my client’s mark. The “merch” available on Ms. Swift’s website
 related to her new album, on the other hand, is only available for purchase online—on a website
 that is clearly branded with Ms. Swift’s name, likeness and/or image. As such, there is simply no
 overlap in the marketing methods and channels of trade between our clients’ respective goods and
 services, and thus no potential for lost sales or actual confusion between them. Moreover, contrary
 to the assertion in your letter, the “merch” on Ms. Swift’s website only contains pictures of Ms.
 Swift or album lyrics and is not identified as an “evermore” collection. Even the URL where this
 merch is available makes no mention of “evermore”: https://store.taylorswift.com/?utm_campaign
 =nav&utm_medium=referral&utm_source=taylorswift.com.7 And, importantly, Ms. Swift’s


 6
         To be clear, you have presented zero evidence that these “in park” items are actively being sold.
 As we are sure you understand, a screenshot of product images available exclusively at a physical location
 is not sufficient to show use of a mark, either at the USPTO or to establish trademark rights—this is
 especially true when the images do not show use of the mark, any information about how or where to
 purchase the items, etc.
 7
         As to the URLs containing links to Ms. Swift’s store with “evermore” included in the web address,
 these pages were merely for backend inventory and were never intended to be live or publicly available.
 They were only available for a short period of time due to a mistake by one of the vendors in charge of
 maintaining the website. They are no longer publicly available in connection with the word “evermore.”
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 website does not sell small dragon eggs, guild patches, or small dragon mounts, and nothing could
 be remotely characterized as such.

         Fourth, consumers seeking to purchase merchandise related to Ms. Swift are sophisticated
 and will take extreme care to ensure that items do, in fact, relate to her and not your client’s theme
 park. As you may know, Ms. Swift has a large and extremely dedicated fan base. Ms. Swift is also
 highly recognizable. The commercial value of an item related to Ms. Swift is distinct and easily
 recognizable. You can rest assured that consumers seeking merchandise related to Ms. Swift,
 rather than your client’s theme park, will ensure that they select the correct items.

          Fifth, with respect to the strength of your client’s mark, the prevalence of other uses of
 EVERMORE trademarks both in the marketplace and on the registry further supports the fact that
 customers are able to distinguish between your client’s products and those offered by the Swift
 Parties. Indeed, as already discussed above and as your client is well aware, there exists another
 business in operation called Dr. Evermor’s Sculpture Park. See worldofevermor.com;
 forevertron.myhopify.com/pages/about-us. Not only does it appear that your client does not have
 any trademark issues with Dr. Evermor—the operator of another “park”—it has affirmatively
 argued that the marks can peacefully co-exist. See supra and Exhibit 1. Even more telling, another
 business—Evermore Medieval Festival (Evermore Faire)—operates a park-like medieval/magical
 experience in the same niche market as your client. See https://www.evermorefaire.com/. The
 presence of at least three park-like businesses operating with virtually identical Evermore names
 speaks to the weakness of your client’s EVERMORE mark. To put it another way, if your client
 has not been damaged by third parties operating identical businesses under identical trademarks,
 it is implausible that your client would be damaged by a third party operating a completely different
 business under a different trademark—as is the case here.

                                                  ***

          Whether there is a likelihood of confusion between two marks can often be determined by
 asking the following question: would a consumer who sees products being offered under a new
 trademark believe they are associated with a senior trademark holder? Here, the answer is
 assuredly, no. Simply put, our clients are using distinguishable marks, operate in separate
 industries, and are competing for different consumers. Given the foregoing, we do not believe
 there is any likelihood of confusion between these marks, and you have not presented any evidence
 to the contrary. As explained throughout, your claims of trademark infringement are baseless, and
 the Swift Parties decline your demand that they “cease and desist from [the] use of the
 EVERMORE trademark.”
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         We trust that this resolves any concerns your client may have had, and we believe this
 matter is resolved. Nevertheless, if you want to discuss this matter further, please feel free to
 contact me at the above Washington, D.C. telephone number. The Swift Parties reserve all rights.



                                             Sincerely,




                                             J. Douglas Baldridge, Esq.



 cc: Rebecca A. Liebowitz, Esq.
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                   EXHIBIT A
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